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                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI’I


   UNITED STATES OF                    CR. NO. 17-00101 JEK
   AMERICA,
                                       DEFENDANT’S “MOTION FOR
          Plaintiff,                   BOND;” DECLARATION OF
                                       COUNSEL; EXHIBIT “A;”
         v.                            CERTIFICATE OF SERVICE


   ANTHONY T. WILLIAMS,

          Defendant.


                          “MOTION FOR BOND”

   Comes now, the Defendant Anthony T. Williams, by and through

   his standby counsel, Lars Robert Isaacson, Esq., and hereby

   provides Defendant’s “MOTION FOR BOND;” Declaration of

   Counsel; and Exhibit “A.”
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      Dated: June 1, 2019

                                      /s/ Lars Isaacson
                                 LARS ROBERT ISAACSON
                                 Standby Attorney for
                                 Defendant Anthony T. Williams
